                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
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 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                     Case No. 17-CR-124
              v.

 MARCUS HUTCHINS,

                  Defendant.
________________________________________________________________________

        DEFENDANT’S MOTION TO DISMISS COUNT SEVEN OF
                THE FIRST SUPERSEDING INDICTMENT
                        (GRAND JURY DEFECTS)
                       [REPLACING DKT. NO. 58]
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      Count Seven of the first superseding indictment against defendant Marcus

Hutchins falls short of what is required under Federal Rule of Criminal

Procedure 7(c), as well as the Fifth and Sixth Amendments, because it mis-

describes the mental state required by the Computer Fraud and Abuse Act, 18

U.S.C. § 1030(a)(5)(A). Count Seven should be dismissed with prejudice.

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      The defense has concurrently filed two other separate motions to dismiss.

The first seeks dismissal of various counts of the indictment under Federal Rule

of Criminal Procedure 12(b)(3)(B)(v) for their failure to state offenses. The




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second seeks dismissal of the indictment on extraterritoriality grounds. This

motion focuses on a defect particular to Count Seven.

      This updated motion to dismiss replaces the one the defense filed on

March 30, 2018, Dkt. No. 58. The government filed a response on April 18, 2018,

Dkt. No. 67, and the defense filed a reply on April 30, 2018, Dkt. No. 70. Per the

Court’s June 22, 2018 order, those filings should be stricken and not

considered. (Dkt. No. 91 at 2.)


                                   DISCUSSION

      1. The Grand Jury and the Right of Presentment

      Grand jury proceedings are the regular subject of legal jokes. “[A] grand

jury would indict a ham sandwich if asked to do so by the prosecutor,” is the

common one. See United States v. Laurent, 861 F. Supp. 2d 71, 89 (E.D.N.Y. 2011).

“[R]ubber stamp for the prosecutor” comes to mind. Id. at 90; see also Marvin E.

Frankel and Gary Naftalis, The Grand Jury: An Institution on Trial 22 (2d ed. 1977)

(“Day in and day out, the grand jury affirms what the prosecutor calls upon it to

affirm—investigating as it is led, ignoring what it is never advised to notice,

failing to indict or indicting as the prosecutor ‘submits’ that it should.”).

      But such humor makes it easy to overlook that grand jury presentment is a

fundamental constitutional protection afforded to persons suspected of criminal

activity. U.S. Const. amend. V. No person may be held “to answer for a capital


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or [felony offense], unless on a presentment or indictment of a grand jury.” Id.;

see also United States v. Bukowski, 435 F.2d 1094, 1099 (7th Cir. 1970).

      The right of presentment is meaningful, since the grand jury is the

constitutional protection “against unfounded criminal prosecutions.” Branzburg

v. Hayes, 408 U.S. 665, 686-87 (1972). And this is important: an indictment

represents more than a grand jury’s finding of a person’s general wrongdoing. It

is a finding that “there is probable cause to believe that the defendant is guilty of

the charged crime.” Laurent, 861 F. Supp. 2d at 88 (emphasis added). And a crime,

of course, is comprised of its particular elements. See Alleyne v. United States, 570

U.S. 99, 109 (2013) (a “crime” is defined as consisting of every legally essential

fact). And so a grand jury’s return of a proper indictment represents its finding

with regard to each of the charged offense’s elements. United States v. Kingrea,

573 F.3d 186, 193 (4th Cir. 2009).

      For this reason, an indictment charging a crime must include “a plain,

concise, and definite written statement of the essential facts constituting the

offense charged.” Fed. R. Crim. P. 7(c)(1). At a minimum, that means that an

indictment must set forth all the elements necessary to constitute the charged

offense. United States v. Smith, 230 F.3d 300, 305 (7th Cir. 2000).

      This requirement is usually described as grounded in the Sixth

Amendment—a defendant needs proper notice of the charged offense in order to

prepare a defense. See U.S. Const. amend. VI (establishing the accused’s “right to

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be informed of the nature and cause of the accusation”); see also United States v.

White, 610 F.3d 956, 958 (7th Cir. 2010). But the constitutional problems attaching

to a missing element are broader than just that. The Fifth Amendment’s

presentment clause is also in play.

      “[T]he requirement that all elements of the offense be present in the

indictment derives from the Fifth Amendment, which requires that the grand

jury have considered and found all elements to be present.” Kingrea, 573 F.3d at

193 (4th Cir. 2009) (internal quotation omitted). When an indictment lacks an

element of the charged offense, the grand jury foreperson’s signature on the

document fails to establish the grand jury’s consideration of all the crime’s

elements, as the Fifth Amendment requires. United States v. Camp, 541 F.2d 737,

740-41 (8th Cir. 1976).

      2. Count Seven’s Defect

      Count Seven of the first superseding indictment charges that Mr. Hutchins:

      [K]nowingly caused and aided and abetted the transmission of
      a program, information and command and as a result of such
      conduct, attempted to cause damage without authorization, to
      10 or more protected computers during a 1-year period.

      In violation of Title 18, United States Code, Sections
      1030(a)(5)(A), (c)(4)(B)(i) and (ii), (c)(4)A(i)(VI), 1030(b), and 2.

(First Superseding Indictment at 12.) But the statute defining the substantive

offense makes it a crime to:



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       [K]nowingly cause[] the transmission of a program,
       information and command, and as a result of such conduct,
       intentionally cause[] damage without authorization, to a
       protected computer[.]

18 U.S.C. § 1030(a)(5)(A) (emphasis added).1 Likewise, the Seventh Circuit’s

Pattern Jury Instructions state the elements of the substantive offense as:

       1.      The defendant knowingly caused the transmission of a
               [program; information; code; command]; and

       2.      By doing so, the defendant intentionally caused damage
               to a protected computer without authorization.

7th Cir. Criminal Pattern Instructions at 367 (2012 ed.) (emphasis added).

       The plain text of § 1030(a)(5)(A) and this Circuit’s pattern instructions

demonstrate that Count Seven, as it is pleaded without reference to the

intentional causing of damage, fails to allege an essential element of the offense.

That is a fatal defect. See United States v. Wabaunsee, 528 F.2d 1, 4 (7th Cir. 1975)

(dismissing count charging interstate transportation of stolen property in

violation of 18 U.S.C. § 2314 for its failure to allege defendant’s necessary

knowledge that the transported goods were stolen; no showing of prejudice is

required).




1The attempt language found within Count Seven does not appear within the text of §
1030(a)(5)(A). It finds its way into § 1030(a)(5)(A) by way of § 1030(b), referenced within Count
Seven, which makes it a crime to attempt any violation of § 1030(a). See 18 U.S.C. § 1030(b).


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                                  CONCLUSION

      Count Seven of the first superseding indictment mis-describes the mental

state required by § 1030(a)(5)(A). That free-standing problem necessitates

dismissal of that count since it fails to satisfy Rule 7(c). Moreover, it violates Mr.

Hutchins’ rights under the Fifth and Sixth Amendments. Count Seven should be

dismissed with prejudice.


 DATED: July 13, 2018                    Respectfully submitted,


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